Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 1 of 20




                        EXHIBIT 1
 Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 2 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                            MX`]


   1                    UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
   2                          AUSTIN DIVISION
   3
        UMG RECORDINGS, INC., et al.,    )
   4                                     )
                  Plaintiffs,            )
   5                                     )
                vs.                      ) Case No.
   6                                     ) 1:17-cv-00365-LY
        GRANDE COMMUNICATIONS NETWORKS   )
   7    LLC,                             )
                                         )
   8              Defendant.             )
        _________________________________)
   9
 10
 11             **HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY**
 12
 13                VIDEO DEPOSITION OF GREGORY H. BOSWELL
 14             30(b)(6) REPRESENTATIVE FOR RIGHTSCORP, INC.
 15                       Santa Monica, California
 16
 17                      Wednesday, August 8, 2018
 18
 19
 20
 21
 22
 23
 24
 25



                          =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                Maih]έΫΫΫ               BXrέΫΫ
 Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 3 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                          MX`]


   1            A   Do not know.
   2            Q   Rough ballpark?
   3            A   Do not know.
   4            Q   I'll ask one more.
   5                Within the last few years, or has it been
   6    quite some time?
   7            A   Jeff would have been a few years ago.
   8                Victor -- Vincent.          It's not Victor.
   9            Q   I'm sorry.
 10             A   It's Vincent.
 11             Q   Thank you.
 12             A   Vincent, probably at the end of last year.
 13             Q   So in 2012 or 2013, Rightscorp transitioned
 14     to using Audible Magic to do its song matching; is
 15     that correct?
 16             A   Uh-huh.
 17             Q   And is Audible Magic a commercial solution?
 18             A   Yes.
 19             Q   And so does Rightscorp pay money to
 20     Audible Magic to perform those services for it?
 21             A   Well, we're going to have to say did
 22     Audible Magic pay.          Yes.
 23             Q   Thank you.       Thank you.
 24             A   It did.
 25             Q   And would you describe for me how the



                           =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                 Maih]έΫΫΫ              BXrέΫΫ
 Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 4 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                         MX`]


   1    Rightscorp system utilized Audible Magic to do its
   2    file matching, song matching.
   3            A   So, again, we're at that point.               We've got
   4    this blind -- you have got this blind file.                   We put
   5    it into the system.          We say, "Tell us what this file
   6    is."
   7                That company's third-party software told us
   8    what the file was and came back with an XML saying
   9    "I think it's this artist and this song."                  And
 10     that's what we got.
 11                 So then -- I'll wait.
 12             Q   Did it always only return one result or
 13     hit?
 14             A   No.
 15             Q   Sometimes there were more than one?
 16             A   Yes.
 17             Q   How many were the maximum number that you
 18     ever saw?
 19             A   Don't know.
 20             Q   Can you give me a ballpark?
 21             A   Don't know.       I don't remember.
 22             Q   More than ten?
 23             A   Some of the older songs, maybe.
 24             Q   What about newer songs?
 25             A   Not as much.



                           =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                 Maih]έΫΫΫ              BXrέΫΫ
 Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 5 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                          MX`]


   1            Q   More than five?
   2            A   Yes.     It could have been.
   3                But what it would come back with is usually
   4    the same song name, maybe alternate spellings or
   5    maybe a different performer.
   6                The song name never varied much unless
   7    there was an alternative spelling or "featuring
   8    this" or "featuring that" or something of that
   9    nature.
 10             Q   And when you say "different performer," you
 11     mean perhaps an original artist and then some cover
 12     of it?
 13             A   Oh, pick a song that everyone's done.                 And,
 14     you know --
 15             Q   "Happy Birthday."
 16             A   "Happy Birthday."
 17                 You know, something that maybe Nirvana's
 18     done or ZZ Top has done and then they did with David
 19     Bowie or Queen and David Bowie.               Basic.     Same sort
 20     of thing.      It's still -- you know, "I've Got to Be
 21     Free," but "I've Got to Be Free" with Queen or "I've
 22     Got to Be Free" with David Bowie and Queen.
 23             Q   So what would the Rightscorp system do to
 24     determine which of those hits was the one to use?
 25             A   Well, it would take the closest -- what it



                           =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                 Maih]έΫΫΫ              BXrέΫΫ
 Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 6 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                          MX`]


   1    would do -- we haven't gotten even to that point
   2    yet.
   3                It would take the one that it thought was
   4    probably the best match and put it in as a name in
   5    that field.
   6                So we have a song name and an artist that
   7    we've identified for this song.               All right?
   8            Q   So it would take what I think you
   9    identified as the blob, the song -- the file that we
 10     don't really know what it is --
 11             A   Right.
 12             Q   -- and the Rightscorp system would then
 13     populate that file name with the information it
 14     received from Audible Magic?
 15             A   Correct.
 16             Q   And it picked the one that it thought was
 17     the best option?
 18             A   Yes.
 19             Q   And what criterion did it use to --
 20             A   I think --
 21                 MR. O'BEIRNE:        Hold on.
 22     BY MR. BROPHY:
 23             Q   What criterion did it use to make that
 24     determination?
 25                 MR. O'BEIRNE:        Objection.       Vague.



                           =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                 Maih]έΫΫΫ              BXrέΫΫ
 Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 7 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                          MX`]


   1                THE WITNESS:        It's never asked of us.
   2    BY MR. BROPHY:
   3            Q   And that -- just to be clear, that material
   4    is part of the SQL Rightscorp database?
   5            A   It is data in the database.
   6            Q   Thank you.
   7                How far back do the records go in the
   8    version of the SQL database that Rightscorp
   9    currently maintains?
 10             A   2011, roughly.
 11             Q   And did Rightscorp maintain the changes to
 12     that database?
 13             A   There is no SQL database.             No SQL version
 14     system.
 15                 THE VIDEOGRAPHER:          Off the record at
 16     2:37 p.m.
 17                 (Recess.)
 18                 THE VIDEOGRAPHER:          We are back on the
 19     record at 3:01 p.m.          This is Disc 4 of the
 20     deposition of Gregory Boswell.
 21     BY MR. BROPHY:
 22             Q   Before the break, we were talking about the
 23     various ways in which Rightscorp conducts a matching
 24     between the files it finds on the Internet and its
 25     clients who copyrighted the works.                And you had



                          =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                Maih]έΫΫΫ               BXrέΫΫ
 Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 8 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                          MX`]


   1    introduced a company named Audible Magic.
   2                Do you recall that?
   3            A   Yes.
   4            Q   What do you know about how Audible Magic
   5    works?
   6                MR. O'BEIRNE:        Objection.       Outside the
   7    scope.
   8                You can answer to the extent you know.
   9                THE WITNESS:        Audible Magic somehow
 10     acquires the information from some source.                   I don't
 11     know.
 12     BY MR. BROPHY:
 13             Q   So when Rightscorp would operate its system
 14     and rely on Audible Magic to do this matching, is my
 15     understanding correct that the actual file that
 16     Rightscorp downloaded is then forwarded to
 17     Audible Magic for analysis?
 18             A   No.
 19             Q   Okay.     Can you -- do you have some
 20     understanding of how that part of the process works?
 21             A   Yes.
 22             Q   And what's that understanding?
 23             A   Okay.     So, again, backing up to the
 24     process.      For the Audible Magic's method is you
 25     download the code -- I lost my tongue during the



                           =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                 Maih]έΫΫΫ              BXrέΫΫ
 Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 9 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                          MX`]


   1    break, guys.
   2                Remember, we go download the sample GUID
   3    onto a computer -- sample GUID from the music
   4    database is downloaded onto a Windows box.                   There is
   5    a binary from Audible Magic, executable, and the
   6    code would say -- a piece of code would fire off and
   7    say, "Audible Magic, analyze this."
   8                Now, Audible Magic would not -- it would
   9    not be transmitted back to Audible Magic.                  It would
 10     digest the song -- whatever the file is, digest it
 11     with some form of proprietary methodology and return
 12     an answer.
 13             Q   So your understanding is that the
 14     Audible Magic program that resides on Rightscorp's
 15     server performs some proprietary analysis and then
 16     compares the results of that analysis to a database
 17     that it has offsite.          Is that correct?
 18             A   To the best of my knowledge, yes.
 19             Q   How long does that process take for
 20     Audible Magic to perform an analysis on a single
 21     song?
 22             A   A second or two.
 23             Q   You indicated that at some point in time
 24     Rightscorp transitioned to using another resource
 25     for conducting that matching.



                          =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                Maih]έΫΫΫ               BXrέΫΫ
Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 10 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                          MX`]


   1                What is the name of that other source?
   2            A   AcoustID.
   3            Q   And what is AcoustID?
   4            A   It is an open source identification tool
   5    for matching content.
   6            Q   When did Rightscorp first begin using
   7    AcoustID?
   8            A   I think I spoke to that before.               I don't
   9    recall the exact date.
 10             Q   Rough.
 11             A   We're probably talking 2013 again, 2014.
 12             Q   Was there any period of time during which
 13     AcoustID and Audible Magic were being used at the
 14     same time?
 15             A   Yes.
 16             Q   What time frame?
 17             A   Again, the 2013, 2014 time frame.
 18             Q   So after 2014, was Rightscorp exclusively
 19     using AcoustID?
 20             A   I believe so.        Somewhere after that time
 21     frame, yeah.
 22             Q   Give me just one moment.            Apologies.
 23                 Is there any information that was produced
 24     by Rightscorp in this case that would allow us to
 25     nail down the specific date on which AcoustID began



                           =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                 Maih]έΫΫΫ              BXrέΫΫ
Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 11 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                          MX`]


   1    being used?
   2            A       At this moment in time, I do not recall the
   3    exact time it was being used.                I may have spoke to
   4    that before.
   5            Q       But is there anything that Rightscorp has
   6    in its possession or has produced in this case that
   7    would allow Grande to make a determination of when
   8    that switch-over occurred?
   9            A       No.
 10             Q       Can you tell me how the AcoustID -- pardon
 11     me.         Start over.
 12                     Can you tell me how Rightscorp uses
 13     AcoustID to perform song matching?
 14             A       In the same way, almost identically, that
 15     we used Audible Magic.
 16             Q       Was the same server used to perform the
 17     Audible Magic matching also used to perform the
 18     AcoustID matching?
 19             A       Yes.
 20             Q       And was the same source code or program
 21     responsible for running that matching?
 22             A       No.     Not the same source code.
 23             Q       So what's the name of the source code or
 24     file responsible for running the AcoustID song
 25     matching?



                               =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                     Maih]έΫΫΫ          BXrέΫΫ
Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 12 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                          MX`]


   1            A   It would be AcoustID, I think.
   2            Q   And when Rightscorp run the -- let me start
   3    over.
   4                Similarly to Audible Magic, did Rightscorp
   5    also have some AcoustID program that ran internally
   6    at Rightscorp?
   7            A   Can you be --
   8                MR. O'BEIRNE:        Objection.       Vague.
   9    BY MR. BROPHY:
 10             Q   You described with the Audible Magic that
 11     there was a program that resided on Rightscorp's
 12     servers that Rightscorp would invoke to conduct this
 13     matching.
 14                 And my question is:          Was there something
 15     similar to that with respect to the AcoustID
 16     capability?
 17             A   Yes.
 18                 MR. O'BEIRNE:        Oh, I'm sorry.        Objection.
 19     Misstates testimony.
 20                 Go ahead.
 21     BY MR. BROPHY:
 22             Q   Can you just describe at a very high level
 23     how that worked.
 24             A   Exactly as AcoustID -- exactly as
 25     Audible Magic.        Download a blind sample, tell it to



                           =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                 Maih]έΫΫΫ              BXrέΫΫ
Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 13 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                         MX`]


   1    process it, sends the data off to the servers.
   2    Servers come back and say, "This is what we think it
   3    is."
   4            Q   And would you get multiple hits from
   5    AcoustID?
   6            A   Yes.
   7            Q   How many?       Or let me --
   8                What was the range?
   9            A   Between --
 10                 MR. O'BEIRNE:        Objection.       Vague.
 11                 THE WITNESS:        Between zero and five or six.
 12     BY MR. BROPHY:
 13             Q   How did Rightscorp go about determining
 14     which of the results to go with?
 15             A   As with AcoustID, matched what was closest
 16     to the file.
 17             Q   I'm sorry.       When you say "the file," you
 18     mean the alphanumeric name?
 19             A   Yes.
 20             Q   What type of algorithm did Rightscorp
 21     utilize to determine which result was closest to the
 22     track information and the track table?
 23                 MR. O'BEIRNE:        Objection.       Vague and
 24     confusing.
 25                 THE WITNESS:        I think we did a match



                           =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                 Maih]έΫΫΫ              BXrέΫΫ
Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 14 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                         MX`]


   1    against in an SQL table.
   2    BY MR. BROPHY:
   3            Q   And you say "match against."              Is that a
   4    defined standard --
   5            A   Yes.
   6            Q   -- function within the SQL database
   7    software?
   8            A   Yes.
   9            Q   And I'm sorry.         Once again, that was
 10     match --
 11             A   Against.
 12             Q   Against.
 13                 And you would pass in to match against both
 14     the alphanumeric string returned from AcoustID and
 15     the string from the tracks table; is that correct?
 16             A   I believe so.
 17             Q   And would Rightscorp run that match against
 18     for all the results from AcoustID and pick the one
 19     that was the highest match?
 20                 MR. O'BEIRNE:        Objection.       Vague.
 21                 THE WITNESS:        If there was only one match,
 22     which usually there is, we'd only pick the top one,
 23     first one.
 24     BY MR. BROPHY:
 25             Q   If there were four or five, how would that



                           =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                 Maih]έΫΫΫ              BXrέΫΫ
Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 15 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                         MX`]


   1    work?
   2            A   I would probably pick the first one with
   3    the highest response rate.
   4            Q   And so that match-against function from the
   5    SQL system, would it return some kind of
   6    percentage-based match?
   7            A   No.    Just one for the first one that
   8    returned.
   9            Q   I'm sorry.       When Rightscorp would run the
 10     match-against function, would it pass in for a
 11     single run of that match against all of the results
 12     from AcoustID in addition to the track database
 13     names or one at a time?
 14                 MR. O'BEIRNE:        Objection.       Vague and
 15     compound.
 16                 THE WITNESS:        Now you are so far down in
 17     the weeds that I couldn't tell you off my memory.
 18     BY MR. BROPHY:
 19             Q   Is there information produced in this case
 20     from which Grande can understand how that
 21     functionality was operating in 2014?
 22             A   Should be.
 23             Q   And was Rightscorp able to produce in this
 24     case the 2014 version of the AcoustID code?
 25             A   I believe so.



                          =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                Maih]έΫΫΫ               BXrέΫΫ
Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 16 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                         MX`]


   1                Will you agree with me that the AcoustID
   2    system could and did return hits, multiple hits,
   3    where each one was potentially sung by a different
   4    artist?
   5            A   Correct.
   6                MR. O'BEIRNE:        I'm sorry.       Objection.
   7    Form.
   8                THE WITNESS:        Correct.
   9    BY MR. BROPHY:
 10             Q   And Rightscorp would -- the Rightscorp
 11     system would determine which of those it considered
 12     to be the best match; is that correct?
 13                 MR. O'BEIRNE:        Objection.       Vague.
 14                 THE WITNESS:        Which would be the best match
 15     to the torrent file.
 16     BY MR. BROPHY:
 17             Q   And then what would the Rightscorp system
 18     do next?
 19             A   For example, if it was a Nirvana torrent
 20     and it was Nirvana songs and we matched and it came
 21     back with a hit for a Nirvana song, we would put
 22     that name and song -- that Nirvana group artist and
 23     that song into the tracks -- the track files field
 24     that correlated to that torrent hash, that song
 25     entry, and that binary key.



                          =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                Maih]έΫΫΫ               BXrέΫΫ
Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 17 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                         MX`]


   1    has no bit field.            This process compares it, says,
   2    "Eh.        Nothing is generated."
   3                   69 -- 169 -- 192.168.2.1 comes through, and
   4    it has a full -- bit full payload for that torrent
   5    hash.        And it goes through and compares and
   6    populates.
   7                   10.0.0.1 comes through, and it's got these
   8    ten here, these seven here, these four here.                    It
   9    compares.        Where it gets a match, it populates;
 10     where it doesn't get a match, it doesn't.
 11             Q      In that last example when you say "it gets
 12     a match," is it matching the portions of the bit
 13     field reported by the BitTorrent client as being
 14     available with the portions of the bit field that
 15     relate to songs that Rightscorp is attempting to
 16     find?
 17             A      Yes.
 18             Q      And that exercise that you just described
 19     results in detections; is that correct?
 20             A      Correct.
 21             Q      And those detections are saved where?
 22             A      They are saved originally in the expanded
 23     TI file.        Then they are moved to temporary holding.
 24             Q      Do they go anywhere after that?
 25             A      Yes, they do.



                              =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                    Maih]έΫΫΫ           BXrέΫΫ
Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 18 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                         MX`]


   1    file name and not mention the rest of it?
   2            A   All right.       I'm a bit confused about your
   3    question.
   4            Q   Sure.
   5                So I asked you what the name of the song
   6    is, the song name associated with the --
   7            A   Right.      My --
   8            Q   Let me just finish.
   9                -- the song name associated with the
 10     copyright that's at issue in this notice.
 11             A   "Planetary (GO!) Vazquez-Gorman Remix."
 12             Q   Okay.     And if you look at the first page of
 13     Exhibit 5, there's a file name there.
 14                 Why did you focus on the "Planetary (GO!)
 15     Vazquez-Gorman Remix" section and ignore the
 16     remainder?
 17             A   So remember when we were talking about the
 18     identification tools?           This is how it was
 19     identified, as "Planetary (GO!) Vazquez-Gorman
 20     Remix."
 21                 The file name is "demo2012.01.16 - The Kids
 22     From Yesterday06, Planetary (GO!)."                Boom.
 23             Q   If an ISP wanted to, how would it go about
 24     determining whether this is a legitimate notice
 25     relating to an instance of actual infringement?



                          =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                Maih]έΫΫΫ               BXrέΫΫ
Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 19 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                         MX`]


   1                  MR. O'BEIRNE:       Hold on.
   2                  Objection.      Vague.
   3                  THE WITNESS:       How would they decide to do
   4    that?       If an ISP wanted to contact us and work with
   5    us and get some deeper information, I'm sure it can
   6    be done.
   7    BY MR. BROPHY:
   8            Q     How?
   9            A     By contacting us and saying "can you
 10     provide some information."             But then now I'm passing
 11     my scope of business.            I'm technical.
 12             Q     So are you aware of any way other than
 13     approaching Rightscorp that an ISP could verify the
 14     accuracy of the infringement notice identified as
 15     Exhibit 5?
 16                   MR. O'BEIRNE:       Objection.       Scope.
 17                   THE WITNESS:       Right now?       No.
 18     BY MR. BROPHY:
 19             Q     How would an ISP go about identifying the
 20     registration number for the copyright that is
 21     alleged to have been infringed by Exhibit 5?
 22                   MR. O'BEIRNE:       Objection.       Outside the
 23     scope.
 24                   THE WITNESS:       Definitely outside my scope.
 25     BY MR. BROPHY:



                             =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                   Maih]έΫΫΫ            BXrέΫΫ
Case 1:17-cv-00365-LY-AWA Document 201-2 Filed 10/01/18 Page 20 of 20
  COACLOVEΫ>LPTAIIΦΦEFCEIV?LKBF@AKQF=Iϒ=QQLOKAVPρAVAPLKIVΦΦЃЃ
                                                                          MX`]


   1            Q   Are you aware of any way?
   2                MR. O'BEIRNE:        Same objection.
   3                THE WITNESS:        Outside my scope.
   4    BY MR. BROPHY:
   5            Q   Is that a "no"?
   6                MR. O'BEIRNE:        Same objection.
   7                THE WITNESS:        I'm not a legal DMCA lawyer.
   8                I'm not a copyrights lawyer.
   9    BY MR. BROPHY:
 10             Q   So I'm just asking if you have any personal
 11     knowledge of a way an ISP could identify the
 12     specific copyright or registration associated with
 13     this notice of infringement.
 14                 MR. O'BEIRNE:        Objection.       Outside the
 15     scope.
 16                 THE WITNESS:        Well, do I have any personal
 17     knowledge that hasn't been tried or ever used or
 18     even thought of?         No, I have never tried to
 19     personally do it myself.            So I don't have any
 20     personal knowledge.
 21     BY MR. BROPHY:
 22             Q   I have maybe just two more quick lines of
 23     questioning, and then I'll be wrapping up.
 24             A   All right.
 25                 MR. O'BEIRNE:        I think we're under on time,



                          =I=OFPIFQFC=QFLKPAOSF?AP
qqqΫXeXlbmΫom                Maih]έΫΫΫ               BXrέΫΫ
